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                      UNITED STATES DISTRICT COURT

                 FOR THE MIDDLE DISTRICT OF FLORIDA

                           JACKSONVILLE DIVISION

 TOYA GREEN-MOBLEY,


              Plaintiff,


 v.
                                               CASE NO: 3:20-cv-00080-J-32-PDB
 SYNCHRONY BANK,

              Defendant.


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
      Plaintiff, TOYA GREEN-MOBLEY and Defendant, SYNCHRONY BANK,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), stipulate that the matters

between them have been resolved and therefore request this Honorable Court to

dismiss Plaintiffs’ claims, with Prejudice, against Defendant, with each party to bear

its own fees and costs.

Respectfully Submitted,

 Davis Law Firm                                        REED SMITH, LLP
 /s/Michael J . Zeigerman                              /s/Raymond Hora
 MICHAEL J. ZEIGERMAN, ESQ.                            RAYMOND HORA, ESQ.
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 Attorneys for Plaintiff

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 20, 2022, I e-filed this document using

the CM/ECF system. I further certify that I am unaware of any non-CM/ECF

participants.

                                                    /s/Michael J. Zeigerman
                                                    Michael J. Zeigerman




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